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               Exhibit A
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                                                                                     Exhibit A
                                                                    Fee Application Service List ‐ First Class Mail

  CreditorName                                CreditorNoticeName                           Address1                       Address2                     City       State   Zip
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